   Case 8:17-bk-10976-TA                     Doc 276 Filed 05/04/22 Entered 05/04/22 14:17:30                                     Desc
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Thomas H. Casey - Bar No. 138264
26400 La Alameda, Suite 210
Mission Viejo, CA 92691
Tel: 949/766-8787 / Facsimile: 949/766-9896
Email: TomCasey@tomcaseylaw.com



                                       UNITED STATES BANKRUPTCY COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                              SANTA ANA DIVISION

In re:                                                             §      Case No. 8:17-BK-10976-TA
                                                                   §
ZIA SHLAIMOUN                                                      §
                                                                   §
                                                                   §
                           Debtor                                  §

                                            TRUSTEE’S FINAL REPORT (TFR)

The undersigned trustee hereby makes this Final Report and states as follows:

     1. A petition under chapter 0 of the United States Bankruptcy Code was filed on 03/15/2017. The
        case was converted to one under Chapter 7 on 03/28/2017. The undersigned trustee was
        appointed on 03/28/2017.

     2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. § 704.

     3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor
        as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to
        11 U.S.C. § 554. An individual estate property record and report showing the disposition of all
        property of the estate is attached as Exhibit A.
                                                                                                                                        1
     4.         The trustee realized gross receipts of                                                                   $222,203.34

                        Funds were disbursed in the following amounts:

                        Payments made under an interim distribution                                                             $0.00
                        Administrative expenses                                                                               $398.18
                        Bank service fees                                                                                   $4,940.02
                        Other Payments to creditors                                                                             $0.00
                        Non-estate funds paid to 3rd Parties                                                                    $0.00
                        Exemptions paid to the debtor                                                                      $24,886.00
                        Other payments to the debtor                                                                            $0.00




UST Form 101-7-TFR (5/1/2011)
1
  The Default Judgment entered August 6, 2020, against Helen Shlaimoun in the amount of $707,100 will remain unadministered.
    Case 8:17-bk-10976-TA                       Doc 276 Filed 05/04/22 Entered 05/04/22 14:17:30                                                 Desc
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                          Leaving a balance on hand of1                                                                          $191,979.14

           The remaining funds are available for distribution.

     5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

     6. The deadline for filing non-governmental claims in this case was 09/16/2019 and the deadline
        for filing government claims was 09/11/2017. All claims of each class which will receive a
        distribution have been examined and any objections to the allowance of claims have been
        resolved. If applicable, a claims analysis, explaining why payment on any claim is not being
        made, is attached as Exhibit C.

     7. The Trustee’s proposed distribution is attached as Exhibit D.

     8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
        $13,115.87. To the extent that additional interest is earned before case closing, the maximum
        compensation may increase.

        The trustee has received $0.00 as interim compensation and now requests the sum of
$13,115.87, for a total compensation of $13,115.872. In addition, the trustee received reimbursement
for reasonable and necessary expenses in the amount of $0.00, and now requests reimbursement for
expenses of $35.00, for total expenses of $35.00.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing
report is true and correct.

Date: 03/02/2022                                                         By:       /s/ Thomas H. Casey
                                                                                   Trustee

STATEMENT: This Uniform form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




1
  The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursements will be distributed pro
rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum compensation set forth under
11 U.S.C. § 326(a) on account of the disbursement of the additional interest.
2
  If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the Trustee’s Proposed
Distribution (Exhibit D).

UST Form 101-7-TFR (5/1/2011)
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                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                 Page No:    1               Exhibit A
                                                                                                         ASSET CASES

Case No.:                    17-10976-TA                                                                                                                       Trustee Name:                                Thomas H. Casey
Case Name:                   SHLAIMOUN, ZIA                                                                                                                    Date Filed (f) or Converted (c):             03/28/2017 (c)
For the Period Ending:       3/2/2022                                                                                                                          §341(a) Meeting Date:                        05/08/2017
                                                                                                                                                               Claims Bar Date:                             09/16/2019

                                 1                                                 2                              3                                    4                          5                                        6

                        Asset Description                                       Petition/                 Estimated Net Value                     Property                  Sales/Funds              Asset Fully Administered (FA)/
                         (Scheduled and                                       Unscheduled                (Value Determined by                     Abandoned                 Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                                    Value                          Trustee,                    OA =§ 554(a) abandon.            the Estate
                                                                                                        Less Liens, Exemptions,
                                                                                                           and Other Costs)

 Ref. #
1       93 Canyon Creek Irvine, CA - 92603-0000                                 $3,000,000.00                                     $0.00               OA                               $0.00                                           FA
        Orange County
Asset Notes:      Asset abandoned, per Order Entered September 13, 2017
                  Per schedules Debtor asserts an interest in said property by virtue of an option agreement entered into. Trustee has elected not to pursue however debtor fully intends to pursue claim - plus
                  provides a set off claim against any claims that could be asserted by Amy Hsaio ** as trustee has already advised that he isn't taking an interest - exemption not being claimed but reserves all
                  rights
2       Real Estate Investments in Iraq                                               Unknown                                     $0.00                                                $0.00                                           FA
Asset Notes:      Per schedules primarily north and close to Turkey purchased through a family trust in 2009 when many were investing. currently due to situation believed worthless and non-recoverable
3       Make: BMW Model: i3 Year: 2014                                                 Unknown                                    $0.00                                                $0.00                                           FA
Asset Notes:    Per schedules Mileage: 15,000 Other Information: debtor has no idea of value of car - undoubtedly undersecured -- BMW sought relief that was unopposed and granted
                CLAIMED EXEMPT PER 703.140(b)(2)
4       Make: Land Rover                                                      $36,000.00                                   $0.00                                        $2,478.68                                                      FA
Asset Notes:    Received funds from Wells Fargo Bank, account closed.
                Per schedules Model Sport Year: 2013 Mileage: 50000
                CLAIMED EXEMPT PER 703.140(b)(3); CLAIMED EXEMPT PER 703.140(b)(5)
5       Make: Mercedes Benz                                           Unknown                                                     $0.00                                                $0.00                                           FA
Asset Notes:      Per schedules Model: C300 Year: 2015 Mileage: 30000 Other Information: leased vehicle - no value
6       miscellaneous household items                                              $10,000.00                                     $0.00                                                $0.00                                           FA
Asset Notes:      Per schedules estimated liquidation value
                  CLAIMED EXEMPT PER 703.140(b)(3)
7       personal electronics                                                           $1,000.00                                  $0.00                                                $0.00                                           FA
Asset Notes:      CLAIMED EXEMPT PER 703.140(b)(3)
8       Gun                                                                             $300.00                                   $0.00                                                $0.00                                           FA
Asset Notes:      CLAIMED EXEMPT PER 703.140(b)(5)
9       clothes estimated liquidation value                                            $1,000.00                                  $0.00                                                $0.00                                           FA
Asset Notes:      CLAIMED EXEMPT PER 703.140(b)(3)
10     personal items estimated value Boss Watch and                                   $1,500.00                                  $0.00                                                $0.00                                           FA
       Cross estimated value
Asset Notes:      CLAIMED EXEMPT PER 703.140(b)(4)
11      dog - 6 years old household pet                                                Unknown                                    $0.00                                                $0.00                                           FA
Asset Notes:      No value to the estate
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                                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                 Page No:    2               Exhibit A
                                                                                                        ASSET CASES

Case No.:                       17-10976-TA                                                                                                                   Trustee Name:                               Thomas H. Casey
Case Name:                      SHLAIMOUN, ZIA                                                                                                                Date Filed (f) or Converted (c):            03/28/2017 (c)
For the Period Ending:          3/2/2022                                                                                                                      §341(a) Meeting Date:                       05/08/2017
                                                                                                                                                              Claims Bar Date:                            09/16/2019

                                   1                                              2                              3                                   4                          5                                         6

                         Asset Description                                     Petition/                  Estimated Net Value                    Property                  Sales/Funds              Asset Fully Administered (FA)/
                          (Scheduled and                                     Unscheduled                 (Value Determined by                    Abandoned                 Received by              Gross Value of Remaining Assets
                     Unscheduled (u) Property)                                  Value                           Trustee,                   OA =§ 554(a) abandon.            the Estate
                                                                                                        Less Liens, Exemptions,
                                                                                                           and Other Costs)

                   CLAIMED EXEMPT PER 703.140(b)(3)
 Ref. #
12      Bank of America. Chase and Wells Fargo                                          $0.00                                     $0.00                                              $0.00                                            FA
Asset Notes:     Per schedules Debtor was banking there for business and personal accounts all accounts were ultimately closed by the institutions due to levies currently only open account is Goldstar
                 Laboratories, LLC and Goldstar Laboratories Missouri, LLC are the only open accounts where debtor where debtor has signatory power. Nominal balances in them sum total (<$1,000.00) no
                 personal accounts open at time filing - 17.1. valued at zero due to overdrafts
13      Ameritrade Account ***-**6562 estimated                                        $65.00                                $0.00                                                 $0.00                                              FA
        balance
Asset Notes:       CLAIMED EXEMPT PER 703.140(b)(5)
14      Shares in British Gas - estimated value                                       $500.00                                     $0.00                                              $0.00                                            FA
Asset Notes:       CLAIMED EXEMPT PER 703.140(b)(5)
15      20 different entities                                                      $74,724.66                                     $1.00                                              $0.00                                            FA
Asset Notes:      Shlaimoun is believed to have funneled in excess of $1,000,000 through the Alter Ego Entities and family members. See Asset #25 8:19-ap-01045-TA filed 3/14/19.
                  The scheduled amount for this asset was collected. See Asset#19.
                  10/23/18 Trustee investigating value.
                  The Debtor has failed to provide responses and information pertaining to the filed schedules. On August 17, 2017 the court granted the Chapter 7 Trustee's Motion to Extend the Time to File
                  a Section 727 Complaint Pursuant to FRBP 4004(b). The complaint deadline is February 18, 2018.
                  Per schedules Name of entity: % of ownership: SEE APPENDIX A ATTACHED Debtor has/has had in 20 different entities. Liquidation value (due to debts and obligations of the entities)
                  believed zero to nominal at best. Versailles Investments, LLC however has some significant claims that are the subject of dispute and disclosed ** debtor reserves right to claim interests as
                  exempt as allowable. Since filing debtor understands that monies were received ($74,724.66-and hence exercises claim accordingly.
16      Rental deposit Amy Hsaio                                                  $30,000.00                             $30,000.00                 OA                               $0.00                                            FA
Asset Notes:       Asset abandoned, per Order Entered September 13, 2017
                   Per schedules security deposit given for rental she has - debtor believes - erroneously taken set-offs however hasnt provided walk through evidence before or after tenancy and debtor believes
                   that this adds to his damages claim related to the abandoned option.
17      Iraq Trust - Ankawa Trust monies invested in                                   Unknown                                     $1.00                                              $0.00                                           FA
        Northern Iraq ** about $20,000,000.00 was
        invested in 2009 when Turkey was going to be
        admitted to the EU and before ISIS took over
        that region. Value currently believed to be
        nominal at best due to the situation
Asset Notes:       Shlaimoun is believed to have funneled in excess of $1,000,000 through the Alter Ego Entities and family members. See Asset #25 8:19-ap-01045-TA filed 3/14/19.
                   10/23/18 Trustee investigating value.
                                           Case 8:17-bk-10976-TA                  Doc 276 Filed   05/04/22 Entered 05/04/22 14:17:30
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                                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                               Page No:    3              Exhibit A
                                                                                                        ASSET CASES

Case No.:                      17-10976-TA                                                                                                                   Trustee Name:                               Thomas H. Casey
Case Name:                     SHLAIMOUN, ZIA                                                                                                                Date Filed (f) or Converted (c):            03/28/2017 (c)
For the Period Ending:         3/2/2022                                                                                                                      §341(a) Meeting Date:                       05/08/2017
                                                                                                                                                             Claims Bar Date:                            09/16/2019

                                   1                                              2                              3                                  4                         5                                         6

                          Asset Description                                    Petition/                 Estimated Net Value                    Property                 Sales/Funds              Asset Fully Administered (FA)/
                           (Scheduled and                                    Unscheduled                (Value Determined by                    Abandoned                Received by              Gross Value of Remaining Assets
                      Unscheduled (u) Property)                                 Value                          Trustee,                   OA =§ 554(a) abandon.           the Estate
                                                                                                       Less Liens, Exemptions,
                                                                                                          and Other Costs)

                   The Debtor has failed to provide responses and information pertaining to the filed schedules. On August 17, 2017 the court granted the Chapter 7 Trustee's Motion to Extend the Time to File
                   a Section 727 Complaint Pursuant to FRBP 4004(b). The complaint deadline is February 18, 2018.
                   Per schedules monies invested in Northern Iraq ** about $20,000,000.00 was invested in 2009 when Turkey was going to be admitted to the EU and before ISIS took over that region. Value
                   currently believed to be nominal at best due to the situation
 Ref. #
18      Debtor owns/has intersts in three patents: see                                Unknown                                    $1.00                                             $0.00                                            FA
        appendix B attached
Asset Notes:      Shlaimoun is believed to have funneled in excess of $1,000,000 through the Alter Ego Entities and family members. See Asset #25 8:19-ap-01045-TA filed 3/14/19.
                  10/23/18 Trustee investigating value.
                  The Debtor has failed to provide responses and information pertaining to the filed schedules. On August 17, 2017 the court granted the Chapter 7 Trustee's Motion to Extend the Time to File
                  a Section 727 Complaint Pursuant to FRBP 4004(b). The complaint deadline is February 18, 2018.
19       Through Versailles Investments, LLC                                       Unknown                               $74,724.66                OA                         $74,724.66                                            FA
Asset Notes:       Per Schedules debtor has claims(estimated) against First California Escrow ($2m), Chicago Title Company ($5M) and Catanzarite Law Group ($500K). Matters are being handled by
                   corporate attorney how has these matters on a contingency and are claims of the entity -- disclosed here in an abundance of caution - and he may also be listed as a claimant also.
                   Case Number: SC123286 HYBRID FINANCE,LTD. VS. VERSAILLES INVESTMENTS, 06/06/2017 Court's Ruling & Order Entered.


                  ASSET ABANDONED PER ORDER ENTERED FEBRUARY 28, 2018
20       Claims against Hsaio Family - Debtor maintains       Unknown                                                     $10,000.00                                          $10,000.00                                            FA
         an option agreement and believes various
         covenants including but not limited to good faith
         and fair dealing were violated. Debtor intends to
         pursue these claims - relief from stay granted for
         litigation and Trustee has represented to Court
         that he isn't taking an interest in the option and
         awaiting abandonment to proceed.
Asset Notes:      The Trustee reached an agreement with Amy Hsiao and filed a motion seeking approval of the sale. Order Approving the Chapter 7 Trustee's Motion to Sell Interest in Option Agreement and
                  Claims Against Amy Hsiao and Approving Overbid Procedures entered November 21, 2017.
21       Claims against Michael Lee - debtor is reserving                       Unknown                                    $0.00              OA                                $0.00                                               FA
       rights and seekng to investigate due to various
       conflicting representations - -disclosed here in an
       abundance of caution and to avoid a estoppel
       claim
Asset Notes:      Asset abandoned per Order Entered September 13, 2017
                                         Case 8:17-bk-10976-TA                   Doc 276 Filed   05/04/22 Entered 05/04/22 14:17:30
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Case No.:                    17-10976-TA                                                                                                                    Trustee Name:                               Thomas H. Casey
Case Name:                   SHLAIMOUN, ZIA                                                                                                                 Date Filed (f) or Converted (c):            03/28/2017 (c)
For the Period Ending:       3/2/2022                                                                                                                       §341(a) Meeting Date:                       05/08/2017
                                                                                                                                                            Claims Bar Date:                            09/16/2019

                                 1                                               2                              3                                   4                         5                                         6

                         Asset Description                                    Petition/                 Estimated Net Value                    Property                  Sales/Funds              Asset Fully Administered (FA)/
                          (Scheduled and                                    Unscheduled                (Value Determined by                    Abandoned                 Received by              Gross Value of Remaining Assets
                     Unscheduled (u) Property)                                 Value                          Trustee,                   OA =§ 554(a) abandon.            the Estate
                                                                                                      Less Liens, Exemptions,
                                                                                                         and Other Costs)

22     Claims against Hybrid. They obtained relief from                              Unknown                                    $0.00              OA                              $0.00                                            FA
       stay - and a judgment post-petition however
       debtor believes that there are set off claims and
       plans to appeal judgment. Trustee had
       previously stipulated with the parties for relief
       from stay to allow litigation to proceed
Asset Notes:      Asset abandoned per Order Entered September 13, 2017
23     Hsaio Option Agreement duplicatively listed                                $10,000.00                                    $0.00                                              $0.00                                            FA
       here to insure full disclosure trustee already
       advised court not taking an interest has value as
       set off and positive beyond by debtors belief.
       Trustee since sold for $10,000.00-was advised
       Debtor would claim exemptions.
Asset Notes:      See Asset #20. Debtor listed asset twice.
24      Casey v. Catanzarite, ADRS Case No.                       (u)                   $0.00                           $400,000.00                                         $135,000.00                                             FA
        18-2938-FFF
Asset Notes:     Order Granting Chapter 7 Trustee's Motion for Order Approving
                 Compromise of Controversy Pursuant to Federal Rule of Bankruptcy
                 Procedure 9019 entered May 17, 2021.
                 Catanzarite is insisting on arbitration being held in person, however ADR Services, Inc. isn’t offering in-person arbitrations due to COVID-19. We expect that the continued date will be
                 rescheduled for early 2021.
                 Arbitration has been scheduled for January 6, 2020 - January 10, 2020
                 The arbitrator was appointed on October 18, 2018 and we are awaiting the first hearing.
25      Fraudulent Conveyance Action-Nico Shlaimoun                  (u)                $0.00                                   $1.00                                              $0.00                                            FA
Asset Notes:      See Asset #27. Trustee will close case and leave Default Judgment entered August 6, 2020, as unadministered.
                  8:19-ap-01045-TA Thomas H. Casey, Trustee of the Zia Shlaimoun Ch. 7 Bankruptcy Estate v Helen Shlaimoun, Nico Aksel Leos Shlaimoun, Oussha Shlaimoun, Aksel Ingolf Ostergard
                 Jensen, 328 Bruce LLC, a limited liability company of unknown state of origin, 40355 La Quinta Palmdale LLC, a California limited liability company, Gold Star Group, LLC, a Delaware
                 limited liability company, Gold Star Health, LLC, a limited liability company of unknown state of origin, Goldstar Laboratories Missouri LLC, a Missouri limited liability company, Jensen
                 Investment Group LLC, a California limited liability company, New Era Valet LLC, a limited liability company of unknown state of origin, Zumaone LLC, a California limited liability
                 company, filed March 14, 2019, (Recovery of money/property - 542 turnover of property)),(12 (Recovery of money/property - 547 preference)),(13 (Recovery of money/property - 548
                 fraudulent transfer)),(14 (Recovery of money/property - other)) Status hearing to be held on 11/7/2019 at 10:00 AM. Default Judgment entered August 6, 2020 against Helen Shlaimoun in the
                 amount of $707,100.
26      Fraudulent Conveyance Action-Askel Jensen                (u)                    $0.00                                  $1.00                                             $0.00                                              FA
                                         Case 8:17-bk-10976-TA                   Doc 276 Filed   05/04/22 Entered 05/04/22 14:17:30
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Case No.:                     17-10976-TA                                                                                                                  Trustee Name:                                Thomas H. Casey
Case Name:                    SHLAIMOUN, ZIA                                                                                                               Date Filed (f) or Converted (c):             03/28/2017 (c)
For the Period Ending:        3/2/2022                                                                                                                     §341(a) Meeting Date:                        05/08/2017
                                                                                                                                                           Claims Bar Date:                             09/16/2019

                                 1                                               2                              3                                  4                         5                                         6

                         Asset Description                                    Petition/                 Estimated Net Value                    Property                 Sales/Funds              Asset Fully Administered (FA)/
                          (Scheduled and                                    Unscheduled                (Value Determined by                    Abandoned                Received by              Gross Value of Remaining Assets
                     Unscheduled (u) Property)                                 Value                          Trustee,                   OA =§ 554(a) abandon.           the Estate
                                                                                                      Less Liens, Exemptions,
                                                                                                         and Other Costs)

Asset Notes:       3/14/19 See Asset #25
                   We anticipate filing a fraudulent conveyance action by March 15, 2019.
 Ref. #
27      Fraudulent Conveyance Action- Helen                        (u)                 $0.00                                    $0.00                                             $0.00                                    $707,100.00
        Shlaimoun
Asset Notes:     Default Judgment entered August 6, 2020 against HELEN SHLAIMOUN, an individual; et al. in the amount of $707,100. Asset will remain unadministered.
                  Previously reported under Asset #25.
                 8:19-ap-01045-TA Thomas H. Casey, Trustee of the Zia Shlaimoun Ch. 7 Bankruptcy Estate v Helen Shlaimoun, Nico Aksel Leos Shlaimoun, Oussha Shlaimoun, Aksel Ingolf Ostergard
                 Jensen, 328 Bruce LLC, a limited liability company of unknown state of origin, 40355 La Quinta Palmdale LLC, a California limited liability company, Gold Star Group, LLC, a Delaware
                 limited liability company, Gold Star Health, LLC, a limited liability company of unknown state of origin, Goldstar Laboratories Missouri LLC, a Missouri limited liability company, Jensen
                 Investment Group LLC, a California limited liability company, New Era Valet LLC, a limited liability company of unknown state of origin, Zumaone LLC, a California limited liability
                 company, filed March 14, 2019, (Recovery of money/property - 542 turnover of property)),(12 (Recovery of money/property - 547 preference)),(13 (Recovery of money/property - 548
                 fraudulent transfer)),(14 (Recovery of money/property - other))
                 3/14/19 See Asset #25
                 We anticipate filing a fraudulent conveyance action by March 15, 2019.
28      Fraudulent Conveyance-Heyde Management,                   (u)                   $0.00                                 $1.00                                              $0.00                                             FA
        LLC,,
Asset Notes:       Adversary closed 11/13/19
                   8:19-ap-01043-TA Thomas H Casey, Trustee of the Zia Shlaimoun Ch 7 Bankruptcy Estate v Heyde Management, LLC,, Filed: 03/14/19, 11 (Recovery of money/property - 542 turnover of
                   property)),(12 (Recovery of money/property - 547 preference)),(13 (Recovery of money/property - 548 fraudulent transfer)),(14 (Recovery of money/property - other)). Status hearing to be
                   held on 10/24/2019 at 10:00 AM.


TOTALS (Excluding unknown value)                                                                                                                                                                      Gross Value of Remaining Assets
                                                                               $3,165,089.66                           $514,730.66                                         $222,203.34                                  $707,100.00




     Major Activities affecting case closing:
      02/04/2022      KD reviewed the docket and confirmed no amended Sch. A, B or C was filed in January 2022.
      01/06/2022      KD reviewed the docket and confirmed no amended Sch. A, B or C was filed in December 2021.
      12/03/2021      KD reviewed the docket and confirmed no amended Sch. A, B or C was filed in November 2021.
      11/05/2021      KD reviewed the docket and confirmed no amended Sch. A, B or C was filed in October 2021.
                                       Case 8:17-bk-10976-TA                    Doc 276 Filed   05/04/22 Entered 05/04/22 14:17:30
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Case No.:                  17-10976-TA                                                                                                                     Trustee Name:                               Thomas H. Casey
Case Name:                 SHLAIMOUN, ZIA                                                                                                                  Date Filed (f) or Converted (c):            03/28/2017 (c)
For the Period Ending:     3/2/2022                                                                                                                        §341(a) Meeting Date:                       05/08/2017
                                                                                                                                                           Claims Bar Date:                            09/16/2019

                               1                                                2                              3                                   4                         5                                         6

                       Asset Description                                     Petition/                 Estimated Net Value                     Property                 Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                                     Unscheduled                (Value Determined by                     Abandoned                Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                  Value                          Trustee,                    OA =§ 554(a) abandon.           the Estate
                                                                                                     Less Liens, Exemptions,
                                                                                                        and Other Costs)

     10/19/2021     ASSETS: All assets have been administered. Asset #25 #27 will remain unadministered.
                    TAXES: Tax returns have been requested from Don Fife.
                    CLAIMS: Claims will reviewed and objections filed if necessary.
                    LITIGATION: Casey v. Catanzarite, ADRS Case No. 18-2938-FFF. Arbitration has been initiated against Kenneth Catanzarite and Catanzarite Law Corporation. On May 17, 2021, the
                    Court entered the Order Granting Chapter 7 Trustee’s Motion for Order Approving Compromise of Controversy Pursuant to Federal Rule of Bankruptcy Procedure 9019. There’s a
                    pre-petition civil court case (Superior Court of Orange County) connected to the arbitration that’s scheduled to be dismissed by the court on November 19, 2021.
                    8:19-ap-01045-TA Thomas H. Casey, Trustee of the Zia Shlaimoun Ch. 7 Bankruptcy Estate v Helen Shlaimoun, Nico Aksel Leos Shlaimoun, Oussha Shlaimoun, Aksel Ingolf Ostergard
                    Jensen, 328 Bruce LLC, a limited liability company of unknown state of origin, 40355 La Quinta Palmdale LLC, a California limited liability company, Gold Star Group, LLC, a
                    Delaware limited liability company, Gold Star Health, LLC, a limited liability company of unknown state of origin, Goldstar Laboratories Missouri LLC, a Missouri limited liability
                    company, Jensen Investment Group LLC, a California limited liability company, New Era Valet LLC, a limited liability company of unknown state of origin, Zumaone LLC, a California
                    limited liability company, filed March 14, 2019, (Recovery of money/property - 542 turnover of property)),(12 (Recovery of money/property - 547 preference)),(13 (Recovery of
                    money/property - 548 fraudulent transfer)),(14 (Recovery of money/property - other)) Status Conference continued to January 6, 2022. None of the nine served Defendants have
                    appeared and they have all been defaulted. The unserved family member Defendants are debtor’s wife, son & mother-in-law, all of whom have moved from their known residences and
                    have taken unusually elaborate steps not to be located and otherwise taken off the grid (for example: based on reliable intel, certain debtor family members don’t know there
                    whereabouts). The family members are believed to be living together or in close proximity. Of the defaulted Defendants, eight are entities not believed to have any assets. The ninth
                    defaulted Defendant is Helen Shlaimoun, the debtor’s mother. To date we have been unsuccessful in our efforts to locate the individuals.
                    INSURANCE: None required
                    CURRENT STATUS: On May 17, 2021, the Court entered the Order Granting Chapter 7 Trustee’s Motion for Order Approving Compromise of Controversy Pursuant to Federal Rule
                    of Bankruptcy Procedure 9019. This settled the Arbitrated claims against Kenneth Catanzarite and Catanzarite Law Corporation and resulted in a $135K settlement to the estate.
                    As previously reported, a default judgment in the amount of $707,100 was entered against Helen Shlaimoun, the debtor’s mother. Ms. Shlaimoun lives in the United Kingdom and isn’t
                    believed to have any assets in the United States. The Trustee has determined that he will close the estate and leave the judgment against Helen Shlaimoun unadministered. In addition, the
                    Clerk has entered Notice of Default against all but two entities which will remain unadministered as well.
                    The Trustee expects to file the TFR by the estimated date of 12/31/21.
     10/06/2021     KD reviewed the docket and confirmed no amended Sch. A, B or C was filed in September 2021.
     09/02/2021     KD reviewed the docket and confirmed no amended Schedule A, B or C was filed in August 2021.
     08/04/2021     KD reviewed the docket and confirmed no amended Schedule A, B or C was filed in July 2021.
     07/02/2021     KD reviewed the docket and confirmed no amended Schedule A, B or C was filed in June 2021.
     06/03/2021     KD reviewed the docket and confirmed no amended Schedule A, B or C was filed in May 2021.
     05/17/2021     Order Granting Chapter 7 Trustee's Motion for Order Approving Compromise of Controversy Pursuant to FRBP 9019 (settlement with Catanzarite)
     05/07/2021     KD reviewed the docket and confirmed no amended Schedule A, B or C was filed in April 2021.
     04/06/2021     KD reviewed the docket and confirmed no amended Schedule A, B or C was filed in March 2021.
     03/05/2021     KD reviewed the docket and confirmed no amended Schedule A, B or C was filed in February 2021.
     02/18/2021     Another Summons Issued - Response due March 22, 2021 and status conference scheduled for May 6, 2021 at 10:00 a.m. [Adv. No. 8:19-1045-TA]
                                       Case 8:17-bk-10976-TA                   Doc 276 Filed   05/04/22 Entered 05/04/22 14:17:30
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                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                Page No:    7              Exhibit A
                                                                                                     ASSET CASES

Case No.:                  17-10976-TA                                                                                                                    Trustee Name:                               Thomas H. Casey
Case Name:                 SHLAIMOUN, ZIA                                                                                                                 Date Filed (f) or Converted (c):            03/28/2017 (c)
For the Period Ending:     3/2/2022                                                                                                                       §341(a) Meeting Date:                       05/08/2017
                                                                                                                                                          Claims Bar Date:                            09/16/2019

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                       Asset Description                                    Petition/                  Estimated Net Value                    Property                 Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                                    Unscheduled                 (Value Determined by                    Abandoned                Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                 Value                           Trustee,                   OA =§ 554(a) abandon.           the Estate
                                                                                                     Less Liens, Exemptions,
                                                                                                        and Other Costs)

     02/03/2021     KD reviewed the docket and confirmed no amended Schedule A, B or C was filed in January 2021.
     01/11/2021     KD reviewed the docket and confirmed no amended Schedule A, B or C was filed in December 2020.
     12/02/2020     KD reviewed the docket and confirmed no amended Schedule A, B or C was filed in November 2020.
     11/04/2020     KD reviewed the docket and confirmed no amended Schedule A, B or C was filed in October 2020.
     10/13/2020     ASSETS: Trustee continues to investigate value of remaining assets.
                    TAXES: Assets still being administered
                    CLAIMS: Claims will reviewed and objections filed if necessary.
                    LITIGATION: Casey v. Catanzarite, ADRS Case No. 18-2938-FFF. Arbitration has been initiated against Kenneth Catanzarite and Catanzarite Law Corporation ( “CLC”). In brief, the
                    estate alleges that CLC and/or Catanzarite misappropriated approximately $300,000 – $400,000 that was formerly held in CLC’s trust account that belonged to debtor, Zia Shlaimoun.
                    The arbitrator was appointed on October 18, 2018. Catanzarite is insisting on arbitration being held in person, however ADR Services, Inc. isn’t offering in-person arbitrations due to
                    COVID-19. We expect that the continued date will be rescheduled for early 2021.
                    8:19-ap-01043-TA Thomas H Casey, Trustee of the Zia Shlaimoun Ch 7 Bankruptcy Estate v Heyde Management, LLC,, a Missouri limited liability company, filed March 14, 2019. 11
                    (Recovery of money/property - 542 turnover of property)),(12 (Recovery of money/property - 547 preference)),(13 (Recovery of money/property - 548 fraudulent transfer)),(14
                    (Recovery of money/property – Adversary closed 11/13/19
                    8:19-ap-01045-TA Thomas H. Casey, Trustee of the Zia Shlaimoun Ch. 7 Bankruptcy Estate v Helen Shlaimoun, Nico Aksel Leos Shlaimoun, Oussha Shlaimoun, Aksel Ingolf Ostergard
                    Jensen, 328 Bruce LLC, a limited liability company of unknown state of origin, 40355 La Quinta Palmdale LLC, a California limited liability company, Gold Star Group, LLC, a
                    Delaware limited liability company, Gold Star Health, LLC, a limited liability company of unknown state of origin, Goldstar Laboratories Missouri LLC, a Missouri limited liability
                    company, Jensen Investment Group LLC, a California limited liability company, New Era Valet LLC, a limited liability company of unknown state of origin, Zumaone LLC, a California
                    limited liability company, filed March 14, 2019, (Recovery of money/property - 542 turnover of property)),(12 (Recovery of money/property - 547 preference)),(13 (Recovery of
                    money/property - 548 fraudulent transfer)),(14 (Recovery of money/property - other)) Default Judgment entered August 6, 2020 against Helen Shlaimoun in the amount of $707,100.
                    Status hearing to be held on 11/12/2020 at 10:00 AM
                    INSURANCE: None required
                    CURRENT STATUS: As previously stated, the Complaint filed in Adversary Action 8:19-ap-01045-TA alleges that over a period of years, Zia Shlaimoun, (“the Bankrupt”), funneled in
                    excess of$1,000,000 through his immediate family members to shield his cash assets from creditors. Zia Shlaimoun would regularly transfer funds to members of his family who would,
                    in turn, hold funds on his behalf or direct his family members on the manner in which the funds should be expended. These funds were held by the family members for the sole purpose
                    of helping the Bankrupt evade creditors and their concomitant collection efforts. From about the early part of 2015 and continuing into 2018 or later, Helen Shlaimoun received at least
                    eight transfers totaling more than $700,000 from the Bankrupt’s accounts and/or from accounts the Bankrupt owned and/or controlled. It is alleged that Helen Shlaimoun intentionally
                    held funds on the Bankrupt’s behalf to keep them out of reach of creditors.
                    We’re in the process of consulting w/ UK counsel, where H. Shlaimoun lives, to determine how to enforce the judgment and/or institute an ancillary recovery action. As part of the same
                    case, we’re continuing to pursue claims against Shlaimoun family members & related entities. The whereabouts of Shlaimoun’s family members are currently unknown, which has
                    extended the litigation against them. Counsel is exploring retaining a PI to pinpoint their current whereabouts.
                    The estimated TFR date has been updated allow additional time for assets to be administered, including resolution of the arbitration and adversary action.
     10/02/2020     KD reviewed the docket and confirmed no amended Schedule A, B or C was filed in September 2020.
                                       Case 8:17-bk-10976-TA                  Doc 276 Filed   05/04/22 Entered 05/04/22 14:17:30
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                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                            Page No:     8             Exhibit A
                                                                                                  ASSET CASES

Case No.:                  17-10976-TA                                                                                                                Trustee Name:                              Thomas H. Casey
Case Name:                 SHLAIMOUN, ZIA                                                                                                             Date Filed (f) or Converted (c):           03/28/2017 (c)
For the Period Ending:     3/2/2022                                                                                                                   §341(a) Meeting Date:                      05/08/2017
                                                                                                                                                      Claims Bar Date:                           09/16/2019

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                       Asset Description                                   Petition/                Estimated Net Value                  Property                 Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                                   Unscheduled               (Value Determined by                  Abandoned                Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                Value                         Trustee,                 OA =§ 554(a) abandon.           the Estate
                                                                                                  Less Liens, Exemptions,
                                                                                                     and Other Costs)

     09/04/2020     KD reviewed the docket and confirmed no amended Schedule A, B or C was filed in August 2020.
     08/06/2020     Default Judgment entered against Helen Shlaimoun in the amount of $707,100 (see docket #87 for Court's adoption of the tentative ruling)
     08/05/2020     KD reviewed the docket and confirmed no amended Schedule A, B or C was filed in July 2020.
     07/01/2020     KD reviewed the docket and confirmed no amended Schedule A, B or C was filed in June 2020.
     06/25/2020     Notice of Rescheduled Hearing Time on Motion for Default Judgment - hearing scheduled for July 23, 2020 at 2:00 p.m.
     06/11/2020     Clerk enters Default against Helen Shlaimoun [Adv. No. 8:19-1045-TA]
     06/04/2020     KD reviewed the docket and confirmed no amended Schedule A, B or C was filed in May 2020.
     05/08/2020     Another Summons and Notice of Status Conference Issued [8:19-ap-01045-TA] - answer due by June 8, 2020 and status conference scheduled for July 23, 2020 at 10:00 a.m.
     05/07/2020     KD reviewed the docket and confirmed no amended Schedule A, B or C was filed in April 2020.
     04/03/2020     KD reviewed the docket and confirmed no amended Schedule A, B or C was filed in March 2020.
     03/05/2020     KD reviewed the docket and confirmed no amended Schedule A, B or C was filed in February 2020.
     03/05/2020     Per docket entry in Adv. No. 8:19-ap-01045-TA - status hearing continued to May 14, 2020 at 10:00 a.m.
     02/07/2020     KD reviewed the docket and confirmed no amended Schedule A, B or C was filed in January 2020.
     01/06/2020     Clerk has entered default against the following entities [8:19-ap-01045-TA]:
                    Go Gum, LLC
                    Jensen Investment Group, LLC
                    Goldstar Laboratories Missouri, LLC
                    Zumaone, LLC
                    40355 La Quinta Palmdale, LLC
     01/03/2020     KD reviewed the docket and confirmed no amended schedule A, B or C was filed in December 2019.
     12/10/2019     KD reviewed the docket and confirmed no amended Schedules A, B or C was filed in November 2019.
     11/08/2019     Court continued status hearing to March 5, 2020 at 10:00 a.m. [Adv. No. 8:19-1045-TA]
     11/04/2019     KD reviewed the docket and confirmed no amended schedule A, B or C was filed in October 2019.
     11/04/2019     Adv. No. 8:19-ap-01045-TA - Request for Entry of Default filed:
                    40355 La Quinta Palmdale, LLC
                    Jensen Investment Group, LLC
                    Go Gum, LLC
                    Zumaone, LLC
                    Goldstar Laboratories Missouri, LLC
                    Helen Shlaimoun
                                       Case 8:17-bk-10976-TA                   Doc 276 Filed   05/04/22 Entered 05/04/22 14:17:30
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Case No.:                  17-10976-TA                                                                                                                  Trustee Name:                               Thomas H. Casey
Case Name:                 SHLAIMOUN, ZIA                                                                                                               Date Filed (f) or Converted (c):            03/28/2017 (c)
For the Period Ending:     3/2/2022                                                                                                                     §341(a) Meeting Date:                       05/08/2017
                                                                                                                                                        Claims Bar Date:                            09/16/2019

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                       Asset Description                                    Petition/                Estimated Net Value                    Property                 Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                                    Unscheduled               (Value Determined by                    Abandoned                Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                 Value                         Trustee,                   OA =§ 554(a) abandon.           the Estate
                                                                                                   Less Liens, Exemptions,
                                                                                                      and Other Costs)

     10/22/2019     ASSETS: Trustee continues to investigate value of remaining assets.
                    TAXES: Assets still being administered
                    CLAIMS: Claims will reviewed and objections filed if necessary.
                    LITIGATION: Casey v. Catanzarite, ADRS Case No. 18-2938-FFF. Arbitration has been initiated against Kenneth Catanzarite and Catanzarite Law Corporation ( “CLC”). In brief, the
                    estate alleges that CLC and/or Catanzarite misappropriated approximately $300,000 – $400,000 that was formerly held in CLC’s trust account that belonged to debtor, Zia Shlaimoun.
                    The arbitrator was appointed on October 18, 2018. Arbitration has been scheduled for January 6, 2020 - January 10, 2020
                    8:18-ap-1011 Hybrid, LTD., an Israeli Corporation v Zia Shlaimoun, filed 1/17/18, Objection / revocation of discharge, ORDER Dismissing Adversary Proceeding - Based upon the Order
                    of the Court entered on June 14, 2019, granting Debtor's motion for approval of waiver of the discharge pursuant to section 727(a)(10) of the Bankruptcy Code. Dismissed 8/30/19.
                    8:19-ap-01043-TA Thomas H Casey, Trustee of the Zia Shlaimoun Ch 7 Bankruptcy Estate v Heyde Management, LLC,, a Missouri limited liability company, filed March 14, 2019. 11
                    (Recovery of money/property - 542 turnover of property)),(12 (Recovery of money/property - 547 preference)),(13 (Recovery of money/property - 548 fraudulent transfer)),(14
                    (Recovery of money/property – other Status hearing to be held on 10/24/2019 at 10:00 AM
                    8:19-ap-01045-TA Thomas H. Casey, Trustee of the Zia Shlaimoun Ch. 7 Bankruptcy Estate v Helen Shlaimoun, Nico Aksel Leos Shlaimoun, Oussha Shlaimoun, Aksel Ingolf Ostergard
                    Jensen, 328 Bruce LLC, a limited liability company of unknown state of origin, 40355 La Quinta Palmdale LLC, a California limited liability company, Gold Star Group, LLC, a
                    Delaware limited liability company, Gold Star Health, LLC, a limited liability company of unknown state of origin, Goldstar Laboratories Missouri LLC, a Missouri limited liability
                    company, Jensen Investment Group LLC, a California limited liability company, New Era Valet LLC, a limited liability company of unknown state of origin, Zumaone LLC, a California
                    limited liability company, filed March 14, 2019, (Recovery of money/property - 542 turnover of property)),(12 (Recovery of money/property - 547 preference)),(13 (Recovery of
                    money/property - 548 fraudulent transfer)),(14 (Recovery of money/property - other)) Status hearing to be held on 11/7/2019 at 10:00 AM
                    INSURANCE: None required
                    CURRENT STATUS: On March 14, 2019, the Trustee filed an Adversary Action (Case No. 8:19-bk-10976-TA) against the Bankrupt’s mother, Helen Shlaimoun, various other family
                    members of Zia Shlaimoun and other third-party persons and entities (the “Adversary Action”) for fraudulent conveyances and voidable. The Complaint filed in the Adversary Action
                    alleges the following: Over a period of years, Zia Shlaimoun, (“the Bankrupt”), funneled in excess of$1,000,000 through his immediate family members to shield his cash assets from
                    creditors. Zia Shlaimoun would regularly transfer funds to members of his family who would, in turn, hold funds on his behalf or direct his family members on the manner in which the
                    funds should be expended. These funds were held by the family members for the sole purpose of helping the Bankrupt evade creditors and their concomitant collection efforts. From
                    about the early part of 2015 and continuing into 2018 or later, Helen Shlaimoun received at least eight transfers totaling more than $700,000 from the Bankrupt’s accounts and/or from
                    accounts the Bankrupt owned and/or controlled. It is alleged that Helen Shlaimoun intentionally held funds on the Bankrupt’s behalf to keep them out of reach of creditors.
                    On June 14, 2019 the Court entered the Order Granting Motion of Zia Shlaimoun for Approval of Waiver of the Discharge Pursuant to Section 727 (a)(10) of the Bankruptcy Code.
                    The estimated TFR date has been updated allow additional time for assets to be administered, including resolution of the arbitration and adversary actions.
     10/02/2019     KD reviewed the docket and confirmed no amended schedule A, B or C was filed in September 2019.
     09/19/2019     KD reviewed the docket and confirmed no amended schedule A, B or C was filed in August 2019.
     08/12/2019     Casey v. Catanzarite, ADRS Case No. 18-2938-FFF - Arbitration has been scheduled for January 6, 2020 - January 10, 2020
     07/30/2019     Another Summons Issued in Casey v. Shlaimoun - answer due August 29, 2019; status conference scheduled for October 24, 2019 at 10:00 a.m.
     07/30/2019     Another Summons Issued in Casey v. Heyde - answer due August 29, 2019; status conference scheduled for October 24, 2019 at 10:00 a.m.
     07/17/2019     Order Reopening Time for Filing Claims - 60 days from the date of Order (9/15/19)
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                                                                                                       ASSET CASES

Case No.:                   17-10976-TA                                                                                                                      Trustee Name:                                Thomas H. Casey
Case Name:                  SHLAIMOUN, ZIA                                                                                                                   Date Filed (f) or Converted (c):             03/28/2017 (c)
For the Period Ending:      3/2/2022                                                                                                                         §341(a) Meeting Date:                        05/08/2017
                                                                                                                                                             Claims Bar Date:                             09/16/2019

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                       Asset Description                                      Petition/                 Estimated Net Value                     Property                  Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                                      Unscheduled                (Value Determined by                     Abandoned                 Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                   Value                          Trustee,                    OA =§ 554(a) abandon.            the Estate
                                                                                                      Less Liens, Exemptions,
                                                                                                         and Other Costs)

     06/17/2019     Order Setting Status Conference re Notice of Issues and Potential Reopening of Opportunity to File Claims - clerical error by Court - status conference July 16, 2019 at 11:00 a.m. - any
                    party that opposes should file written points and authorities
     06/14/2019     Order Granting Debtor's Motion for Approval of Waiver of the Discharge Pursuant to Section 727(a)(10) of the Bankruptcy Code
     05/16/2019     Another Summons Issued in Casey v. Heyde - answer due June 17, 2019; status conference scheduled for August 1, 2019 at 10:00 a.m.
     05/16/2019     Another Summons Issued in Casey v. Shlaimoun - answer due June 17, 2019; status conference scheduled for August 1, 2019 at 10:00 a.m.
     03/15/2019     Trustee Complaint filed against Heyde Management, LLC for Avoidance and Recovery of Transfer of Property (547, 548, 549, 550) [Adv. No. 8:19-ap-01043-TA] ("Casey v. Heyde")
     03/15/2019     Trustee Complaint filed against Nico Shlaimoun, Oussha Shlaimoun, Aksel Ingolf Ostergard Jensen, 40355 La Quinta Palmdale, LLC, Go Gum, LLC, Gold Star Group, LLC, Gold Star
                    Health, LLC, Goldstar Laboratories, LLC, Goldstar Laboratories Missouri, LLC, Jensen Investment Group, LLC, New Era Valet, LLC and Zumaone, LLC for Avoidance and Recovery
                    of Transfer of Property (547, 548, 549, 550, Cal. Civ. Code 3439 et. seq.) [Adv. No. 8:19-ap-01045-TA] ("Casey v. Shlaimoun et al")
     10/23/2018     ASSETS: Trustee continues to investigate value of remaining assets.
                    TAXES: Assets still being administered
                    CLAIMS: Claims have been reviewed and no objections are necessary.
                    LITIGATION: Casey v. Catanzarite, ADRS Case No. 18-2938-FFF. Arbitration has been initiated against Kenneth Catanzarite and Catanzarite Law Corporation ( “CLC”). In brief, the
                    estate alleges that CLC and/or Catanzarite misappropriated approximately $300,000 – $400,000 that was formerly held in CLC’s trust account that belonged to debtor, Zia Shlaimoun
                    (“Debtor”). The arbitrator was appointed on October 18, 2018 and we are awaiting the first hearing.
                    INSURANCE: None required
                    CURRENT STATUS: During this reporting period the Trustee sought to employ Special Counsel to prosecute the Trustee’s potential causes of action against the Debtor and third
                    parties, including conducting 2004 examinations.
                    Subpoenas are being prepared to a number of financial institutions where Debtor maintained, either individually or through one of his many companies, bank accounts. We’ve learned
                    through diligence/investigations that Debtor may have used an undisclosed business account at one of the institutions to funnel hundreds of thousands of dollars into and out of the
                    accounts, and that Debtor may have used his mom, Helen Shlaimoun, as a signer on the subject account in an attempt to avoid detection. Depending on the destination of funds from that
                    account, particularly if a destination was international, we may be able to file an ex parte application under 28 U.S.C. § 1782 in New York to obtain records of undisclosed wires through
                    the federal reserve that pertain to Debtor and/or his companies.
                    In addition to his mom, Debtor appears to have used his eldest son, Nico Shlaimoun, and father-in-law, Askel Jensen, to hide his assets. We anticipate filing fraudulent conveyance
                    actions by March 15, 2019 (the two-year anniversary of Debtor’s bankruptcy filing) against both individuals, and conducting further discovery beforehand to tighten up factual
                    allegations against these individuals. Among the undisclosed assets believed to still exist and be in the direct or indirect control of Debtor are several million dollars from a 2010 fraud
                    where Debtor pocketed approximately $11.7 million from approximately defrauded five investor groups. Among other possible assets being investigated is Debtor’s purported interest
                    in property he claims to have purchased years back in Northern Iraq for in excess of $20,000,000.
     07/17/2018     Amended schedules A B and C filed
     04/02/2018     Order Granting Application to Employ Special Counsel the Law Offices of Michael Jason Lee, APLC and Dillon Gerardi Hershberger Milller & Ahuja LLP as Trustee's Special Counsel
     02/28/2018     Order entered abandoning the estate's interest in claims asserted in litigation against Chicago Title
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                                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                 Page No:    11              Exhibit A
                                                                                                       ASSET CASES

Case No.:                   17-10976-TA                                                                                                                      Trustee Name:                               Thomas H. Casey
Case Name:                  SHLAIMOUN, ZIA                                                                                                                   Date Filed (f) or Converted (c):            03/28/2017 (c)
For the Period Ending:      3/2/2022                                                                                                                         §341(a) Meeting Date:                       05/08/2017
                                                                                                                                                             Claims Bar Date:                            09/16/2019

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                       Asset Description                                     Petition/                  Estimated Net Value                     Property                 Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                                     Unscheduled                 (Value Determined by                     Abandoned                Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                  Value                           Trustee,                    OA =§ 554(a) abandon.           the Estate
                                                                                                      Less Liens, Exemptions,
                                                                                                         and Other Costs)

     10/10/2017     ASSETS: Trustee is seeking a 2004 exam order and seeking turnover of the Debtor’s tax returns to determine the value of remaining assets listed on Sch B.
                    TAXES: Assets still being administered
                    CLAIMS: Trustee will review claims when bar date passes.
                    LITIGATION: Case Number: SC123286 HYBRID FINANCE,LTD. VS. VERSAILLES INVESTMENTS, 06/06/2017 Court's Ruling & Order Entered.
                    INSURANCE: None required
                    CURRENT STATUS: On March 15, 2017 (“Petition Date”), the Debtor filed a skeletal voluntary chapter 13 bankruptcy petition. Shortly thereafter, the Debtor filed a Notice of
                    Conversion to Chapter 7 and on March 28, 2017, the Court filed a Notice That Case Has Been Converted to Chapter 7.
                    The Debtor failed to appear at his initial 341(a) examination which was scheduled for May 8, 2017. The Trustee continued the 341(a) examination to May 22, 2017 and the Debtor again
                    failed to appear.
                    Creditor Amy Hsiao filed a motion for relief from stay seeking to lift the stay so that she could proceed with state court litigation. Counsel filed a non-opposition to the motion on April
                    4, 2017.
                    The Debtor filed a motion seeking to dismiss the bankruptcy case, which the Trustee opposed and also joined in the creditor’s opposition. The motion was denied in an order entered on
                    June 9, 2017.
                    On June 20, 2017, the Debtor filed the balance of his schedules and statement of affairs, only six days before the continued 341(a) examination. On June 26, 2017, the Firm conducted the
                    341(a) examination of the Debtor. The Debtor has continued to fail to provide tax returns and has been evasive in his answers to questions at the 341(a) hearings wherein the creditor has
                    questioned him extensively. Counsel continues to appear at the 341(a) hearings as a means of obtaining information about the assets of the Debtor. We will be seeking a 2004 exam order
                    and seeking turnover of the Debtor’s tax returns.
                    On June 30, 2017 Counsel filed a motion seeking extension of time to file a 727 action. The Debtor opposed and Counsel filed a reply. The motion was granted and the deadline is now
                    set for February 13, 2018.
                    At one of the 341(a) hearings Counsel was informed that the Debtor had a claim to funds being held by his former counsel. On July 17, 2017, Counsel sent a demand letter for the
                    turnover of those funds and has received $74,724.66 from the attorney.
                    Counsel filed a motion to abandon assets including the estate’s interest in the real property located at 93 Canyon Creek, Irvine, California 92603 (“Real Property”), the purported option
                    agreement entered into by the Debtor and Amy Hsaio to purchase the Real Property (“Option Agreement”) and any litigation regarding the same (“Claims Against Hsaio”), claims which
                    have been asserted by the Debtor in litigation against Hybrid Finance, Ltd. (“Claims Against Hybrid”) and claims which have been asserted by the Debtor against Attorney Michael
                    Jason Lee, Esq. (“Claims Against Lee”). Amy Hsiao filed a limited opposition wherein she offered to purchase the estate’s interest in the Option Agreement and the Claims Against
                    Hsiao.
                    Counsel filed a reply seeking the continuance of the motion related to the Option Agreement and the Claims Against Hsiao so as to provide time to negotiate the proposed sale. The
                    abandonment of the other assets was granted and the hearing relating to the Hsiao Assets was continued.
                    The Trustee reached an agreement with Amy Hsiao and filed a motion seeking approval of the sale. The hearing on the motion is set for October 24, 2017. The motion to abandon the
                    Hsiao Asset has been continued to be heard on the same date.


Initial Projected Date Of Final Report (TFR):          12/31/2021                            Current Projected Date Of Final Report (TFR):                                         /s/ THOMAS H. CASEY
                                                                                                                                                                                   THOMAS H. CASEY
                                          Case 8:17-bk-10976-TA        Doc 276 Filed 05/04/22
                                                                                  FORM    2    Entered 05/04/22 14:17:30                                    Desc
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                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          17-10976-TA                                                                                 Trustee Name:                         Thomas H. Casey
 Case Name:                        SHLAIMOUN, ZIA                                                                              Bank Name:                            Independent Bank
Primary Taxpayer ID #:             **-***5258                                                                                  Checking Acct #:                      ******0976
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:                        General Account
For Period Beginning:              3/15/2017                                                                                   Blanket bond (per case limit):        $5,000,000.00
For Period Ending:                 3/2/2022                                                                                    Separate bond (if applicable):

       1                2                                     3                                    4                                                 5                     6                      7

   Transaction       Check /                           Paid to/            Description of Transaction                           Uniform           Deposit          Disbursement                 Balance
      Date            Ref. #                        Received From                                                              Tran Code            $                   $


07/31/2017            (19)     CATANZARITE LAW CORPORATION          TURNOVER OF FUNDS FROM SALE OF MALIBU                       1129-000          $74,724.66                                      $74,724.66
                                                                    PROPERTY SEVERAL YEARS AGO (RELATING TO
                                                                    VERSAILLES INVESTMENTS, LLC); BALANCE OF
                                                                    FUNDS HELD IN ATTY-CLIENT TRUST ACCOUNT
08/31/2017                     Integrity Bank                       Bank Service Fee                                            2600-000                                        $107.42           $74,617.24
09/30/2017                     Integrity Bank                       Bank Service Fee                                            2600-000                                        $107.27           $74,509.97
10/31/2017                     Integrity Bank                       Bank Service Fee                                            2600-000                                        $110.69           $74,399.28
11/30/2017                     Integrity Bank                       Bank Service Fee                                            2600-000                                        $106.96           $74,292.32
12/31/2017                     Integrity Bank                       Bank Service Fee                                            2600-000                                        $110.37           $74,181.95
01/31/2018                     Integrity Bank                       Bank Service Fee                                            2600-000                                        $110.20           $74,071.75
02/06/2018           5001      International Sureties, LTD.         Bond # 016030856                                            2300-000                                         $49.70           $74,022.05
02/28/2018                     Integrity Bank                       Bank Service Fee                                            2600-000                                         $99.35           $73,922.70
03/05/2018                     Transfer From: #*******0976          Per Trustee's Counsel, okay to transfer funds to general    9999-000          $10,000.00                                      $83,922.70
                                                                    account; sale order was not appealed and Debtor does not
                                                                    currently have a claim of exemption in this asset
03/31/2018                     Integrity Bank                       Bank Service Fee                                            2600-000                                        $122.75           $83,799.95
04/30/2018                     Integrity Bank                       Bank Service Fee                                            2600-000                                        $120.47           $83,679.48
05/31/2018                     Integrity Bank                       Bank Service Fee                                            2600-000                                        $124.31           $83,555.17
06/30/2018                     Integrity Bank                       Bank Service Fee                                            2600-000                                        $120.12           $83,435.05
07/31/2018                     Integrity Bank                       Bank Service Fee                                            2600-000                                        $123.94            $83,311.11
08/05/2018                     Independent Bank                     Bank Service Fee                                            2600-000                                         $19.96           $83,291.15
08/06/2018                     Independent Bank                     Bank Service Fee                                            2600-000                                        ($19.96)           $83,311.11
08/31/2018                     Independent Bank                     Bank Service Fee                                            2600-000                                       $1,457.94          $81,853.17
09/05/2018                     Independent Bank                     Bank Service Fee                                            2600-000                                   ($1,457.94)             $83,311.11
09/06/2018                     Independent Bank                     Bank Service Fee                                            2600-000                                        $123.83           $83,187.28
10/23/2018           5002      ZIA SHLAIMOUN                        DEBTOR'S CLAIMED EXEMPTION IN FUNDS                         8100-002                                   $24,886.00             $58,301.28
                                                                    TURNED OVER BY CATANZARITE ($14,886) AND
                                                                    CLAIMED EXEMPTION IN HSAIO OPTION
                                                                    AGREEMENT ($10,000)
                                                                                                                               SUBTOTALS          $84,724.66               $26,423.38
                                          Case 8:17-bk-10976-TA       Doc 276 Filed 05/04/22
                                                                                 FORM    2    Entered 05/04/22 14:17:30                                   Desc
                                                                                                                                                            Page No: 2                   Exhibit B
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                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          17-10976-TA                                                                              Trustee Name:                          Thomas H. Casey
 Case Name:                        SHLAIMOUN, ZIA                                                                           Bank Name:                             Independent Bank
Primary Taxpayer ID #:             **-***5258                                                                               Checking Acct #:                       ******0976
Co-Debtor Taxpayer ID #:                                                                                                    Account Title:                         General Account
For Period Beginning:              3/15/2017                                                                                Blanket bond (per case limit):         $5,000,000.00
For Period Ending:                 3/2/2022                                                                                 Separate bond (if applicable):

       1                2                                     3                                    4                                               5                     6                      7

   Transaction       Check /                           Paid to/            Description of Transaction                        Uniform            Deposit          Disbursement                 Balance
      Date            Ref. #                        Received From                                                           Tran Code             $                   $


02/01/2019           5003      International Sureties, LTD.         Bond #16030866                                           2300-000                                           $17.49          $58,283.79
05/08/2019           5004      International Sureties, LTD.         Bond Payment                                             2300-000                                            $2.29          $58,281.50
01/27/2020           5005      International Sureties, LTD.         Bond Payment                                             2300-000                                           $33.18          $58,248.32
03/24/2020           5006      International Sureties, LTD.         Bond Payment                                             2300-000                                           $19.79          $58,228.53
05/18/2020           5007      International Sureties, LTD.         Bond Payment-Bond Number: 016030866                      2300-000                                            $2.73          $58,225.80
06/26/2020           5008      International Sureties, LTD.         Bond #016030866                                          2300-000                                            $0.93          $58,224.87
08/13/2020           5009      International Sureties, LTD.         Bond #016030866                                          2300-000                                            $0.12          $58,224.75
08/31/2020                     Independent Bank                     Account Analysis Charge                                  2600-000                                           $84.90          $58,139.85
09/30/2020                     Independent Bank                     Account Analysis Charge                                  2600-000                                           $84.78          $58,055.07
10/06/2020            (4)      CHASE AUTO FINANCE                   ACCOUNT OVERAGE REFUND.                                  1129-000            $2,478.68                                      $60,533.75
10/30/2020                     Independent Bank                     Account Analysis Charge                                  2600-000                                           $87.52          $60,446.23
11/30/2020                     Independent Bank                     Account Analysis Charge                                  2600-000                                           $88.14          $60,358.09
12/31/2020                     Independent Bank                     Account Analysis Charge                                  2600-000                                           $88.02          $60,270.07
01/21/2021           5010      International Sureties, LTD.         Bond #016229732                                          2300-000                                           $46.38          $60,223.69
01/29/2021                     Independent Bank                     Account Analysis Charge                                  2600-000                                           $87.88          $60,135.81
02/26/2021                     Independent Bank                     Account Analysis Charge                                  2600-000                                           $87.69          $60,048.12
03/31/2021                     Independent Bank                     Account Analysis Charge                                  2600-000                                           $87.56          $59,960.56
04/12/2021            (24)     CATANZARITE LAW CORPORATION          Order Granting Chapter 7 Trustee's Motion for Order      1249-000           $35,000.00                                      $94,960.56
                                                                    Approving Compromise of Controversy Pursuant to
                                                                    Federal Rule of Bankruptcy Procedure 9019 entered May
                                                                    17, 2021.
04/13/2021            (24)     CATANZARITE LAW CORPORATION          Order Granting Chapter 7 Trustee's Motion for Order      1249-000          $100,000.00                                     $194,960.56
                                                                    Approving Compromise of Controversy Pursuant to
                                                                    Federal Rule of Bankruptcy Procedure 9019 entered May
                                                                    17, 2021.
04/30/2021                     Independent Bank                     Account Analysis Charge                                  2600-000                                         $214.91          $194,745.65
05/28/2021                     Independent Bank                     Account Analysis Charge                                  2600-000                                         $283.99          $194,461.66
06/30/2021                     Independent Bank                     Account Analysis Charge                                  2600-000                                         $283.58          $194,178.08


                                                                                                                            SUBTOTALS          $137,478.68                   $1,601.88
                                          Case 8:17-bk-10976-TA       Doc 276 Filed 05/04/22
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                                                                                                                                                                  Page No: 3                 Exhibit B
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                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          17-10976-TA                                                                                     Trustee Name:                         Thomas H. Casey
 Case Name:                        SHLAIMOUN, ZIA                                                                                  Bank Name:                            Independent Bank
Primary Taxpayer ID #:             **-***5258                                                                                      Checking Acct #:                      ******0976
Co-Debtor Taxpayer ID #:                                                                                                           Account Title:                        General Account
For Period Beginning:              3/15/2017                                                                                       Blanket bond (per case limit):        $5,000,000.00
For Period Ending:                 3/2/2022                                                                                        Separate bond (if applicable):

       1                2                                     3                                    4                                                     5                     6                    7

   Transaction       Check /                           Paid to/            Description of Transaction                               Uniform           Deposit          Disbursement               Balance
      Date            Ref. #                        Received From                                                                  Tran Code            $                   $


07/30/2021                     Independent Bank                     Account Analysis Charge                                         2600-000                                       $283.16         $193,894.92
08/31/2021                     Independent Bank                     Account Analysis Charge                                         2600-000                                       $282.75         $193,612.17
09/30/2021                     Independent Bank                     Account Analysis Charge                                         2600-000                                       $282.34         $193,329.83
10/29/2021                     Independent Bank                     Account Analysis Charge                                         2600-000                                       $281.93         $193,047.90
11/30/2021                     Independent Bank                     Account Analysis Charge                                         2600-000                                       $281.52         $192,766.38
12/31/2021                     Independent Bank                     Account Analysis Charge                                         2600-000                                       $281.11         $192,485.27
01/13/2022            5011     International Sureties, LTD.         Bond #016229732                                                 2300-000                                       $225.57         $192,259.70
01/31/2022                     Independent Bank                     Account Analysis Charge                                         2600-000                                       $280.56         $191,979.14
02/11/2022                     Independent Bank                     Transfer Funds                                                  9999-000                                   $191,979.14                  $0.00

                                                                                      TOTALS:                                                         $222,203.34           $222,203.34                     $0.00
                                                                                          Less: Bank transfers/CDs                                     $10,000.00           $191,979.14
                                                                                      Subtotal                                                        $212,203.34            $30,224.20
                                                                                          Less: Payments to debtors                                         $0.00            $24,886.00
                                                                                      Net                                                             $212,203.34             $5,338.20



                     For the period of 3/15/2017 to 3/2/2022                                                    For the entire history of the account between 07/31/2017 to 3/2/2022

                     Total Compensable Receipts:                    $212,203.34                                 Total Compensable Receipts:                               $212,203.34
                     Total Non-Compensable Receipts:                      $0.00                                 Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                  $212,203.34                                 Total Comp/Non Comp Receipts:                             $212,203.34
                     Total Internal/Transfer Receipts:               $10,000.00                                 Total Internal/Transfer Receipts:                          $10,000.00


                     Total Compensable Disbursements:                 $5,338.20                                 Total Compensable Disbursements:                            $5,338.20
                     Total Non-Compensable Disbursements:            $24,886.00                                 Total Non-Compensable Disbursements:                       $24,886.00
                     Total Comp/Non Comp Disbursements:              $30,224.20                                 Total Comp/Non Comp Disbursements:                         $30,224.20
                     Total Internal/Transfer Disbursements:         $191,979.14                                 Total Internal/Transfer Disbursements:                    $191,979.14
                                         Case 8:17-bk-10976-TA        Doc 276 Filed 05/04/22
                                                                                 FORM    2    Entered 05/04/22 14:17:30                                           Desc
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                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         17-10976-TA                                                                                        Trustee Name:                         Thomas H. Casey
 Case Name:                       SHLAIMOUN, ZIA                                                                                     Bank Name:                            Independent Bank
Primary Taxpayer ID #:            **-***5258                                                                                         Checking Acct #:                      ******0976
Co-Debtor Taxpayer ID #:                                                                                                             Account Title:                        Sale Proceeds (EXEMPT)
For Period Beginning:             3/15/2017                                                                                          Blanket bond (per case limit):        $5,000,000.00
For Period Ending:                3/2/2022                                                                                           Separate bond (if applicable):

       1                2                                  3                                      4                                                          5                   6                   7

   Transaction       Check /                          Paid to/            Description of Transaction                                  Uniform           Deposit          Disbursement              Balance
      Date            Ref. #                       Received From                                                                     Tran Code            $                   $


09/28/2017            (20)     AMY HSIAO                           PURCHASE OF ESTATE'S INTEREST IN OPTION                            1129-000          $10,000.00                                   $10,000.00
                                                                   AGREEMENT AND CLAIMS AGAINST HSIAO
03/05/2018                     Transfer To: #*******0976           Per Trustee's Counsel, okay to transfer funds to general           9999-000                                   $10,000.00                  $0.00
                                                                   account; sale order was not appealed and Debtor does not
                                                                   currently have a claim of exemption in this asset

                                                                                     TOTALS:                                                               $10,000.00            $10,000.00                  $0.00
                                                                                         Less: Bank transfers/CDs                                               $0.00            $10,000.00
                                                                                     Subtotal                                                              $10,000.00                 $0.00
                                                                                         Less: Payments to debtors                                              $0.00                 $0.00
                                                                                     Net                                                                   $10,000.00                 $0.00



                     For the period of 3/15/2017 to 3/2/2022                                                      For the entire history of the account between 09/28/2017 to 3/2/2022

                     Total Compensable Receipts:                   $10,000.00                                     Total Compensable Receipts:                                $10,000.00
                     Total Non-Compensable Receipts:                    $0.00                                     Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                 $10,000.00                                     Total Comp/Non Comp Receipts:                              $10,000.00
                     Total Internal/Transfer Receipts:                  $0.00                                     Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                   $0.00                                     Total Compensable Disbursements:                                $0.00
                     Total Non-Compensable Disbursements:               $0.00                                     Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                 $0.00                                     Total Comp/Non Comp Disbursements:                              $0.00
                     Total Internal/Transfer Disbursements:        $10,000.00                                     Total Internal/Transfer Disbursements:                     $10,000.00
                                        Case 8:17-bk-10976-TA        Doc 276 Filed 05/04/22
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                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         17-10976-TA                                                                                    Trustee Name:                          Thomas H. Casey
 Case Name:                       SHLAIMOUN, ZIA                                                                                 Bank Name:                             Veritex Community Bank
Primary Taxpayer ID #:            **-***5258                                                                                     Checking Acct #:                       ******7601
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                         DDA
For Period Beginning:             3/15/2017                                                                                      Blanket bond (per case limit):         $5,000,000.00
For Period Ending:                3/2/2022                                                                                       Separate bond (if applicable):

       1                2                                3                                        4                                                     5                     6                   7

   Transaction       Check /                          Paid to/            Description of Transaction                              Uniform            Deposit          Disbursement              Balance
      Date            Ref. #                       Received From                                                                 Tran Code             $                   $


02/11/2022                     Veritex Community Bank              Transfer Funds                                                 9999-000          $191,979.14                                  $191,979.14

                                                                                    TOTALS:                                                         $191,979.14                    $0.00         $191,979.14
                                                                                        Less: Bank transfers/CDs                                    $191,979.14                    $0.00
                                                                                    Subtotal                                                              $0.00                    $0.00
                                                                                        Less: Payments to debtors                                         $0.00                    $0.00
                                                                                    Net                                                                   $0.00                    $0.00



                     For the period of 3/15/2017 to 3/2/2022                                                  For the entire history of the account between 02/11/2022 to 3/2/2022

                     Total Compensable Receipts:                         $0.00                                Total Compensable Receipts:                                      $0.00
                     Total Non-Compensable Receipts:                     $0.00                                Total Non-Compensable Receipts:                                  $0.00
                     Total Comp/Non Comp Receipts:                       $0.00                                Total Comp/Non Comp Receipts:                                    $0.00
                     Total Internal/Transfer Receipts:             $191,979.14                                Total Internal/Transfer Receipts:                          $191,979.14


                     Total Compensable Disbursements:                    $0.00                                Total Compensable Disbursements:                                    $0.00
                     Total Non-Compensable Disbursements:                $0.00                                Total Non-Compensable Disbursements:                                $0.00
                     Total Comp/Non Comp Disbursements:                  $0.00                                Total Comp/Non Comp Disbursements:                                  $0.00
                     Total Internal/Transfer Disbursements:              $0.00                                Total Internal/Transfer Disbursements:                              $0.00
                                        Case 8:17-bk-10976-TA       Doc 276 Filed 05/04/22
                                                                               FORM    2    Entered 05/04/22 14:17:30                                     Desc
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         17-10976-TA                                                                                 Trustee Name:                         Thomas H. Casey
Case Name:                       SHLAIMOUN, ZIA                                                                              Bank Name:                            Veritex Community Bank
Primary Taxpayer ID #:           **-***5258                                                                                  Checking Acct #:                      ******7601
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:                        DDA
For Period Beginning:            3/15/2017                                                                                   Blanket bond (per case limit):        $5,000,000.00
For Period Ending:               3/2/2022                                                                                    Separate bond (if applicable):

      1                 2                                3                                       4                                                 5                     6                   7

  Transaction        Check /                         Paid to/            Description of Transaction                           Uniform           Deposit          Disbursement            Balance
     Date             Ref. #                      Received From                                                              Tran Code            $                   $




                                                                                                                                                                              NET            ACCOUNT
                                                                                   TOTAL - ALL ACCOUNTS                               NET DEPOSITS                       DISBURSE           BALANCES

                                                                                                                                              $222,203.34             $30,224.20            $191,979.14




                     For the period of 3/15/2017 to 3/2/2022                                              For the entire history of the case between 03/28/2017 to 3/2/2022

                     Total Compensable Receipts:                  $222,203.34                             Total Compensable Receipts:                               $222,203.34
                     Total Non-Compensable Receipts:                    $0.00                             Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                $222,203.34                             Total Comp/Non Comp Receipts:                             $222,203.34
                     Total Internal/Transfer Receipts:            $201,979.14                             Total Internal/Transfer Receipts:                         $201,979.14


                     Total Compensable Disbursements:               $5,338.20                             Total Compensable Disbursements:                            $5,338.20
                     Total Non-Compensable Disbursements:          $24,886.00                             Total Non-Compensable Disbursements:                       $24,886.00
                     Total Comp/Non Comp Disbursements:            $30,224.20                             Total Comp/Non Comp Disbursements:                         $30,224.20
                     Total Internal/Transfer Disbursements:       $201,979.14                             Total Internal/Transfer Disbursements:                    $201,979.14




                                                                                                                          /s/ THOMAS H. CASEY
                                                                                                                          THOMAS H. CASEY
            Case
3/2/22, 11:31 AM   8:17-bk-10976-TA             Doc 276 CM/ECF
                                                         Filed 05/04/22        Entered
                                                               - U.S. Bankruptcy            05/04/22
                                                                                 Court (v1.5.3 - LIVE) 14:17:30     Desc
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                                            Central District of California
                                                  Claims Register
                                8:17-bk-10976-TA Zia Shlaimoun Converted 03/28/2017

                          Judge: Theodor Albert                          Chapter: 7
                          Office: Santa Ana                              Last Date to file claims: 09/16/2019
                          Trustee: Thomas H Casey (TR)                   Last Date to file (Govt): 09/11/2017
  Creditor:     (37694532)                             Claim No: 1                     Status:
  Malibu Urgent Care                                   Original Filed                  Filed by: CR
  Acct Management Services, Inc                        Date: 03/24/2017                Entered by: Sally Daniels
  PO Box 2296                                          Original Entered                Modified:
  Cypress, CA 90630                                    Date: 03/27/2017

   Amount claimed: $333.30
  History:
  Details         1-1    03/24/2017 Claim #1 filed by Malibu Urgent Care, Amount claimed: $333.30 (Daniels, Sally)
  Description:
  Remarks: General unsecured claim.

  Creditor:     (37798425)                             Claim No: 2                     Status:
  Verizon                                              Original Filed                  Filed by: CR
  by American InfoSource LP as agent                   Date: 05/12/2017                Entered by: Ashley Boswell
  4515 N Santa Fe Ave                                  Original Entered                Modified:
  Oklahoma City, OK 73118                              Date: 05/12/2017

   Amount claimed: $2224.35

  History:
  Details         2-1    05/12/2017 Claim #2 filed by Verizon, Amount claimed: $2224.35 (Boswell, Ashley)
  Description:
  Remarks: General unsecured claim.

  Creditor:     (38003661)                             Claim No: 3                     Status:
  American Express Centurion Bank                      Original Filed                  Filed by: CR
  c/o Becket and Lee LLP                               Date: 08/18/2017                Entered by: Greg Deegan
  PO Box 3001                                          Original Entered                Modified:
  Malvern PA 19355-0701                                Date: 08/18/2017

   Amount claimed: $29652.07
  History:
  Details         3-1    08/18/2017 Claim #3 filed by American Express Centurion Bank, Amount claimed: $29652.07 (Deegan,
                                    Greg)
  Description:
  Remarks: General unsecured claim.

  Creditor:     (38003927)                             Claim No: 4                     Status:
  Wells Fargo Bank, N.A.                               Original Filed                  Filed by: CR




https://ecf.cacb.uscourts.gov/cgi-bin/SearchClaims.pl?384457516097933-L_1_0-1                                               1/6
            Case
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                                                            Filed 05/04/22         Entered
                                                                   - U.S. Bankruptcy            05/04/22
                                                                                     Court (v1.5.3 - LIVE) 14:17:30 Desc
  Wells Fargo Card Services                      MainDate:
                                                      Document
                                                           08/18/2017    Page    21   of 28
                                                                                       Entered by: Janet L Samuelson
  PO Box 10438, MAC F8235-02F                          Original Entered            Modified:
  Des Moines, IA 50306-0438                            Date: 08/18/2017

   Amount claimed: $1221.69

  History:
  Details         4-1    08/18/2017 Claim #4 filed by Wells Fargo Bank, N.A., Amount claimed: $1221.69 (Samuelson, Janet)
  Description:
  Remarks: General unsecured claim.

  Creditor:     (38015486)                             Claim No: 5                 Status:
  Wells Fargo Bank, N.A.                               Original Filed              Filed by: CR
  PO Box 10438, MAC F8235-02F                          Date: 08/24/2017            Entered by: Trang Truong
  Des Moines, IA 50306-0438                            Original Entered            Modified:
                                                       Date: 08/24/2017

   Amount claimed: $2137.71

  History:
  Details         5-1    08/24/2017 Claim #5 filed by Wells Fargo Bank, N.A., Amount claimed: $2137.71 (Truong, Trang)
  Description: (5-1) unsecured claim
  Remarks: General unsecured claim.

  Creditor:     (38038549)                             Claim No: 6                 Status:
  Southern California Edison                           Original Filed              Filed by: CR
  1551 W San Bernardino Rd                             Date: 09/01/2017            Entered by: Sally Daniels
  Covina, CA 91722                                     Original Entered            Modified:
                                                       Date: 09/05/2017

   Amount claimed: $433.24
  History:
  Details         6-1    09/01/2017 Claim #6 filed by Southern California Edison, Amount claimed: $433.24 (Daniels, Sally)
  Description:
  Remarks: General unsecured claim.

  Creditor:     (38038549)                             Claim No: 7                 Status:
  Southern California Edison                           Original Filed              Filed by: CR
  1551 W San Bernardino Rd                             Date: 09/01/2017            Entered by: Sally Daniels
  Covina, CA 91722                                     Original Entered            Modified:
                                                       Date: 09/05/2017

   Amount claimed: $2372.46

  History:
  Details         7-1    09/01/2017 Claim #7 filed by Southern California Edison, Amount claimed: $2372.46 (Daniels, Sally)
  Description:
  Remarks: General unsecured claim.

  Creditor:      (38153497)                            Claim No: 8                 Status:
  Amy Hsiao                                            Original Filed              Filed by: CR
  c/o L Scott Keehn Esq                                Date: 11/03/2017




https://ecf.cacb.uscourts.gov/cgi-bin/SearchClaims.pl?384457516097933-L_1_0-1                                                 2/6
            Case
3/2/22, 11:31 AM   8:17-bk-10976-TA             Doc 276 CM/ECF
                                                            Filed 05/04/22         Entered
                                                                   - U.S. Bankruptcy            05/04/22
                                                                                     Court (v1.5.3 - LIVE) 14:17:30   Desc
  501 W Broadway Ste 1025                        MainOriginal
                                                      DocumentEntered    Page    22   of 28
                                                                                       Entered by: Scott L Keehn
  San Diego, CA 92101                                  Date: 11/03/2017              Modified:

   Amount claimed: $231296.41
  History:
  Details         8-1    11/03/2017 Claim #8 filed by Amy Hsiao, Amount claimed: $231296.41 (Keehn, Scott)
  Description:
  Remarks: General unsecured claim.

  Creditor:      (38154493)                            Claim No: 9                   Status:
  Hybrid Finance, Ltd.                                 Original Filed                Filed by: CR
  c/o Michael J. Lee                                   Date: 11/03/2017              Entered by: Michael J Lee
  Law Offices of Michael Jason Lee, APLC               Original Entered              Modified:
  4660 La Jolla Village Drive, Suite 500               Date: 11/03/2017
  San Diego, CA 92122
   Amount claimed: $2661457.00

  History:
  Details         9-1    11/03/2017 Claim #9 filed by Hybrid Finance, Ltd., Amount claimed: $2661457.00 (Lee, Michael)
  Description:
  Remarks: General unsecured claim.

  Creditor:     (38155574)                             Claim No: 10                  Status: Withdraw 243
  Catanzarite Law Corporation                          Original Filed                Filed by: CR
  2331 West Lincoln Avenue                             Date: 11/03/2017              Entered by: Eric V Anderton
  Anaheim, CA 92801                                    Original Entered              Modified:
                                                       Date: 11/03/2017

   Amount claimed: $300000.00
   Secured claimed: $300000.00
  History:
  Details        10-1 11/03/2017 Claim #10 filed by Catanzarite Law Corporation, Amount claimed: $300000.00 (Anderton,
                                 Eric)
                 243 05/27/2021 Withdrawal of Claim(s): 10 Filed by Creditor Catanzarite Law Corporation. (Catanzarite,
                                 Keneth) Status: Withdraw
  Description: (10-1) Undetermined Value - Litigation Claims
  Remarks: Claim withdrawn May 27, 2021.

  Creditor:     (38206348)                             Claim No: 11                  Status:
  BMW Financial Services NA, LLC                       Original Filed                Filed by: CR
  P.O. Box 3608                                        Date: 11/29/2017              Entered by: Rejoy Nalkara
  Dublin OH 43016, OH 43016                            Original Entered              Modified:
                                                       Date: 11/29/2017

   Amount claimed: $20728.33

  History:
  Details         11-1 11/29/2017 Claim #11 filed by BMW Financial Services NA, LLC, Amount claimed: $20728.33 (Nalkara,
                                  Rejoy)
  Description:
  Remarks: General unsecured claim.




https://ecf.cacb.uscourts.gov/cgi-bin/SearchClaims.pl?384457516097933-L_1_0-1                                                3/6
            Case
3/2/22, 11:31 AM   8:17-bk-10976-TA             Doc 276 CM/ECF
                                                           Filed 05/04/22         Entered
                                                                  - U.S. Bankruptcy            05/04/22
                                                                                    Court (v1.5.3 - LIVE) 14:17:30            Desc
  Creditor:     (39628389)                       MainClaim
                                                      Document
                                                           No: 12       Page    23   of 28
                                                                                      Status:
  George P. Eshoo                                      Original Filed                     Filed by: CR
  702 Marshall St                                      Date: 06/20/2019                   Entered by: ePOC-User AutoDocket
  Ste 500                                              Original Entered                   Modified: 12/27/2021
  Redwood City, CA 94063                               Date: 06/20/2019

   Amount claimed: $551798.43

  History:
  Details        12-1 06/20/2019 Claim #12 filed by George P. Eshoo, Amount claimed: $551798.43 (AutoDocket, ePOC-
                                 User)
                 246 12/03/2021 Motion to Disallow Claims Chapter 7 Trustee's Motion for Order Disallowing Claims Filed by:
                                 (1) George P. Eshoo, Claim No. 12; (2) George P. Eshoo, Claim No. 13; and (3) Tahim and
                                 Associates, a Professional Corporation, Claim No. 15; Memorandum of Points and
                                 Authorities; and Declaration of Chapter 7 Trustee Thomas H. Casey with Exhibits and Proof
                                 of Service Filed by Trustee Thomas H Casey (TR) (Casey, Thomas)
  Description: (12-1) Claim No. 12 - Disallowed in its entirety as a Duplicate Claim
  Remarks: (12-1) Filer Comment: Discovered omission from service on June 17 2019.
   Claim No. 12 is disallowed in its entirety as a duplicate claim per Order Approving Stipulation Between Chapter 7 Trustee and George P. Eshoo
   entered December 27, 2021.
  Creditor:     (39628389)                             Claim No: 13                       Status:
  George P. Eshoo                                      Original Filed                     Filed by: CR
  702 Marshall St                                      Date: 07/18/2019                   Entered by: ePOC-User AutoDocket
  Ste 500                                              Original Entered                   Modified: 12/27/2021
  Redwood City, CA 94063                               Date: 07/18/2019

   Amount claimed: $615229.02

  History:
  Details        13-1 07/18/2019 Claim #13 filed by George P. Eshoo, Amount claimed: $615229.02 (AutoDocket, ePOC-
                                 User)
                 246 12/03/2021 Motion to Disallow Claims Chapter 7 Trustee's Motion for Order Disallowing Claims Filed by:
                                 (1) George P. Eshoo, Claim No. 12; (2) George P. Eshoo, Claim No. 13; and (3) Tahim and
                                 Associates, a Professional Corporation, Claim No. 15; Memorandum of Points and
                                 Authorities; and Declaration of Chapter 7 Trustee Thomas H. Casey with Exhibits and Proof
                                 of Service Filed by Trustee Thomas H Casey (TR) (Casey, Thomas)
  Description: (13-1) Claim No. 13 - shall be Allowed as a General Unsecured Claim in the reduced amount of $419,038.24
  Remarks: (13-1) Filer Comment: CLAIM 12 REPLACED IN CLAIM PERIOD PER ORDER JULY 17 2019
  Claim No. 13 shall be allowed as a general unsecured claim in the reduced amount of $419,038.24 per Order Approving Stipulation Between
  Chapter 7 Trustee and George P. Eshoo entered December 27, 2021.
  Creditor:      (39752230)                            Claim No: 14                       Status:
  Buchalter, A Professional Corporation                Original Filed                     Filed by: CR
  Attn: Pamela Kohlman Webster                         Date: 08/20/2019                   Entered by: ePOC-User AutoDocket
  1000 Wilshire Blvd., Suit 1500                       Original Entered                   Modified:
  Los Angeles, CA 90017                                Date: 08/20/2019

   Amount claimed: $37780.53

  History:
  Details        14-1 08/20/2019 Claim #14 filed by Buchalter, A Professional Corporation, Amount claimed: $37780.53
                                 (AutoDocket, ePOC-User)
  Description:
  Remarks: (14-1) Account Number (last 4 digits):1317 General unsecured claim.

  Creditor:     (39802045)                             Claim No: 15                       Status: Disallow 258
  Tahim And Association, APC                           Original Filed                     Filed by: CR
  2331 w Lincoln Ave, Suite 300                        Date: 09/12/2019                   Entered by: Glenda Deramus
  Anaheim CA 92801                                     Original Entered                   Modified:
                                                       Date: 09/13/2019

   Amount claimed: $6125.00
https://ecf.cacb.uscourts.gov/cgi-bin/SearchClaims.pl?384457516097933-L_1_0-1                                                                4/6
            Case
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                                                           Filed 05/04/22        Entered
                                                                 - U.S. Bankruptcy            05/04/22
                                                                                   Court (v1.5.3 - LIVE) 14:17:30        Desc
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  History:
  Details        15-1 09/12/2019 Claim #15 filed by Tahim And Association, APC, Amount claimed: $6125.00 (Deramus,
                                 Glenda)
                 246 12/03/2021 Motion to Disallow Claims Chapter 7 Trustee's Motion for Order Disallowing Claims Filed by:
                                 (1) George P. Eshoo, Claim No. 12; (2) George P. Eshoo, Claim No. 13; and (3) Tahim and
                                 Associates, a Professional Corporation, Claim No. 15; Memorandum of Points and
                                 Authorities; and Declaration of Chapter 7 Trustee Thomas H. Casey with Exhibits and Proof
                                 of Service Filed by Trustee Thomas H Casey (TR) (Casey, Thomas)
                 258 01/10/2022 Order Granting Chapter 7 Trustee's Motion For Order Disallowing Claim Filed by Tahim &
                                 Associates, A Professional Corporation, Claim No. 15. IT IS HEREBY ORDERED the
                                 Trustee's Claim Objection is sustained; and IT IS HEREBY ORDERED that Claim No. 15
                                 filed by Tahim & Associates, A Professional Corporation, is disallowed in its entirety. (BNC-
                                 PDF) (Related Doc # 246) 15 Signed on 1/10/2022. (Deramus, Glenda) Status: Disallow
  Description: (15-1) SERVICES PERFORMED
  Remarks: Order Granting Chapter 7 Trustee's Motion for Order Disallowing Claim Filed by Tahim and Associates, a Professional Corporation,
              Claim NO. 15 entered January 10, 2022.



                                                       Claims Register Summary
                                                         Case Name: Zia Shlaimoun
                                                       Case Number: 8:17-bk-10976-TA
                                                                 Chapter: 7
                                                            Date Filed: 03/15/2017
                                                        Total Number Of Claims: 15

                                              Total Amount Claimed* $4462789.54
                                               Total Amount Allowed*
                                                  *Includes general unsecured claims

       The values are reflective of the data entered. Always refer to claim documents for actual amounts.

                                                                            Claimed Allowed
                                                Secured                   $300000.00
                                                Priority
                                                Administrative



                                                         PACER Service Center
                                                              Transaction Receipt
                                                                  03/02/2022 11:30:53
                                   PACER                          Client
                                                   trusteecasey
                                   Login:                         Code:
                                                                            8:17-bk-10976-TA Filed or Entered
                                                   Claims         Search
                                   Description:                             From: 2/23/2000 Filed or Entered
                                                   Register       Criteria:
                                                                            To: 3/2/2022
                                   Billable
                                                   2              Cost:     0.20
                                   Pages:
                                   Exempt                         Exempt
                                                   Exempt                 Exempt Court Order
                                   flag:                          reason:


https://ecf.cacb.uscourts.gov/cgi-bin/SearchClaims.pl?384457516097933-L_1_0-1                                                           5/6
            Case
3/2/22, 11:31 AM   8:17-bk-10976-TA             Doc 276 CM/ECF
                                                         Filed 05/04/22        Entered
                                                               - U.S. Bankruptcy            05/04/22
                                                                                 Court (v1.5.3 - LIVE) 14:17:30   Desc
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                                                                                                              Exhibit D
                                    TRUSTEE’S PROPOSED DISTRIBUTION

Case No.:            8:17-BK-10976-TA
Case Name:           ZIA SHLAIMOUN
Trustee Name:        Thomas H. Casey

                                                                         Balance on hand:                         $191,979.14


          Claims of secured creditors will be paid as follows: NONE



                                                 Total to be paid to secured creditors:                                 $0.00
                                                                  Remaining balance:                              $191,979.14

          Applications for chapter 7 fees and administrative expenses have been filed as follows:

Reason/Applicant                                                             Total              Interim                Proposed
                                                                         Requested           Payments to               Payment
                                                                                                   Date
Thomas H. Casey, Trustee Fees                                            $13,115.87                   $0.00          $13,115.87
Thomas H. Casey, Trustee Expenses                                              $35.00                 $0.00                $35.00
The Law Office of Thomas H. Casey, Inc., Attorney                                     1
for Trustee Fees                                                         $26,500.00                   $0.00          $26,500.00
The Law Office of Thomas H. Casey, Inc., Attorney                          $2,428.06                  $0.00            $2,428.06
for Trustee Expenses
Hahn Fife & Company, Accountant for Trustee Fees                           $5,568.00                  $0.00            $5,568.00
Hahn Fife & Company, Accountant for Trustee                                  $726.50                  $0.00              $726.50
Expenses
United States Bankruptcy Court, Clerk of the Court                           $700.00                  $0.00              $700.00
Costs
Other: Law Offices of Michael Jason Lee, APLC, Dillon                    $57,650.82                   $0.00          $57,650.82
Miller Ahuja & Boss, LLP, Special Counsel for Trustee Fees

Other: Law Offices of Michael Jason Lee, APLC, Dillon Miller             $36,849.18                   $0.00          $36,849.18
Ahuja & Boss, LLP, Special Counsel for Trustee Expenses



                            Total to be paid for chapter 7 administrative expenses:                               $143,573.43
                                                               Remaining balance:                                  $48,405.71

          Applications for prior chapter fees and administrative expenses have been filed as follows:
NONE




UST Form 101-7-TFR (5/1/2011)
1
 The Law Office of Thomas H. Casey, Inc. has voluntarily reduced its requested fees by 49% to increase the distribution to unsecured
 creditors.
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                       Total to be paid to prior chapter administrative expenses:                     $0.00
                                                             Remaining balance:                  $48,405.71

         In addition to the expenses of administration listed above as may be allowed by the Court,
priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.

         Allowed priority claims are: NONE



                                                 Total to be paid to priority claims:                 $0.00
                                                                Remaining balance:               $48,405.71

        The actual distribution to wage claimants included above, if any, will be the proposed payment
less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

        Timely claims of general (unsecured) creditors totaling $3,408,675.33 have been allowed and will
be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
timely allowed general (unsecured) dividend is anticipated to be 1.4 percent, plus interest (if applicable).

         Timely allowed general (unsecured) claims are as follows:

Claim No. Claimant                                             Allowed Amt.           Interim      Proposed
                                                                    of Claim       Payments to      Amount
                                                                                         Date
           1 Malibu Urgent Care                                       $333.30            $0.00         $4.73
           2 Verizon                                                $2,224.35            $0.00        $31.59
           3 American Express Centurion Bank                      $29,652.07             $0.00       $421.08
           4 Wells Fargo Bank, N.A.                                 $1,221.69            $0.00        $17.35
           5 Wells Fargo Financial National Bank                    $2,137.71            $0.00        $30.36
           6 Southern California Edison                               $433.24            $0.00         $6.15
           7 Southern California Edison                             $2,372.46            $0.00        $33.69
           8 Amy Hsiao                                           $231,296.41             $0.00     $3,284.58
           9 Hybrid Finance, Ltd.                              $2,661,457.00             $0.00    $37,794.66
          11 BMW Bank of North America                            $20,728.33             $0.00       $294.36
          12 George P. Eshoo                                            $0.00            $0.00         $0.00
          13 George P. Eshoo                                     $419,038.24             $0.00     $5,950.65
          14 Buchalter, A Professional Corporation                $37,780.53             $0.00       $536.51
          15 Tahim And Association, APC                                 $0.00            $0.00         $0.00


                                Total to be paid to timely general unsecured claims:             $48,405.71
                                                                Remaining balance:                    $0.00




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        Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
applicable).

         Tardily filed general (unsecured) claims are as follows: NONE



                       Total to be paid to tardily filed general unsecured claims:                    $0.00
                                                              Remaining balance:                      $0.00

        Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

        Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
subordinated by the Court are as follows: NONE



                                        Total to be paid for subordinated claims:                     $0.00
                                                              Remaining balance:                      $0.00




UST Form 101-7-TFR (5/1/2011)
